  Case 3:15-cv-00666-M Document 283 Filed 03/11/19                 Page 1 of 1 PageID 9656


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


 NIC SALOMON,

                Plaintiff,

                vs.                                 Civil Action No. 3:15-CV-00666-M

 KROENKE SPORTS & ENTERTAINMENT,
 LLC, OUTDOOR CHANNEL HOLDINGS,
 INC. AND PACIFIC NORTHERN CAPITAL
 LLC,

                Defendants.



                                          ORDER

       On February 27, 2019, the Court entered a Sealed Order, granting summary judgment for

Defendants Outdoor Channel Holdings, Inc. and Kroenke Sports & Entertainment, LLC, among

other things. (ECF No. 280). The Court instructed the parties to file, by March 7, 2019, a

motion to seal any portion of the Sealed Order that they believed should be permanently sealed.

No party filed a motion to seal by the deadline. The Clerk is therefore directed to unseal the

Court’s Order of February 27, 2019 (ECF No. 280).

       SO ORDERED.

       March 11, 2019.


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                                             BARBARA M. G. LYNN
                                             CHIEF JUDGE
